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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                          :
    JAMES LYNCH,                                          :   CIVIL ACTION
                                                          :
                 Plaintiff,                               :   Case No. 2:23-cv-04445-GJP
                                                          :
    v.                                                    :
                                                          :
    TASTY BAKING COMPANY, et al.,                         :
                                                          :
                 Defendants.                              :
                                                          :
                                                          :

                         DEFENDANT’S MEMORANDUM OF LAW
                        IN SUPPORT OF MOTION FOR SANCTIONS

I.       INTRODUCTION

         Pursuant to Rules 37 and 41 of the Federal Rules of Civil Procedure and the inherent power

of the Court to impose sanctions on a party, Defendant Tasty Baking Company (“Tasty”), by and

through its undersigned counsel, submits this Memorandum of Law in support of its Motion for

Sanctions against Plaintiff James Lynch and moves the Court to dismiss Plaintiff’s Complaint in

its entirety with prejudice, or impose alternative sanctions for Plaintiff’s failure to obey this Court’s

Order dated July 1, 2024 and Plaintiff’s continued non-compliance with discovery obligations

following the September 5, 2024 telephonic conference with this Court. 1




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  Rule 41(b) of the Federal Rules of Civil Procedure authorizes a Court to dismiss a plaintiff’s
lawsuit when the plaintiff fails to prosecute or comply with a court order or the Rules of Civil
Procedure. See Fed. R. Civ. P. 41(b). Given that Plaintiff’s violations at issue relate to Plaintiff’s
discovery violations and failure to obey the Court’s scheduling order, Defendant’s motion for
sanctions focuses on the relief afforded by Rule 37. See 8 Moore’s Federal Practice and Procedure
§ 41.52 (3d ed. 2008). However, as Defendant’s request for sanctions and dismissal of Plaintiff’s
action is likewise made pursuant to this Court’s powers under Rule 41(b) based on Plaintiff’s
failure to comply with the Federal Rules of Civil Procedure and this Court’s orders.

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       Tasty files this Motion for Sanctions seeking dismissal of Plaintiff’s Amended Complaint

because Plaintiff has failed to comply with his discovery obligations in this case from its inception

has greatly prejudiced Tasty’s ability to prepare its defense, Tasty’s efforts to obtain discovery

from Plaintiff and to resolve discovery disputes without the Court’s assistance have been fruitless,

and Plaintiff has demonstrated that lesser measures will be ineffective. For these reasons, Tasty

respectfully submits that Plaintiff’s Amended Complaint should be dismissed in its entirety with

prejudice and that Plaintiff be ordered to pay Tasty’s reasonable attorneys’ fees and costs incurred

in the preparation of letters relating to discovery disputes and this Motion.

       While Tasty avers that dismissing Plaintiff’s Amended Complaint in its entirety with

prejudice and awarding Tasty its fees and costs is the appropriate remedy, should the Court decline

to grant Tasty’s Motion or be inclined to grant alternative remedies, Defendant requests that the

Court consider the following: 1) Plaintiff’s claims relating to disability discrimination and

emotional distress be dismissed, with prejudice, as Defendant’s ability to prepare its defense has

been most prejudiced with relation to those claims; 2) Plaintiff be compelled to respond to fully

respond to Defendant’s discovery requests and any objections by Plaintiff be deemed waived; and

3) the discovery period and corresponding case deadlines be extended for the limited purpose of

Defendant being permitted to take Plaintiff’s deposition and the depositions of witnesses identified

by Plaintiff in his Initial Disclosures on dates after Defendant has received Plaintiff’s discovery

responses and responses from third parties to its subpoenas for records.

II.    RELEVANT FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       A. Plaintiff’s Claims Pertinent to his Discovery Failures

       Plaintiff is a former employee of Tasty. (Amended Complaint, ECF 14 at ¶ 22). Plaintiff

claims to have had a disability during the time he worked at Tasty. (Id. at ¶ 89). Plaintiff’s



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employment with Defendant was terminated after he was accused of pushing another employee.

(Id. at ¶ 78.) Plaintiff alleges that he was disparately treated and retaliated against by Defendant

based on his race, gender, religion, and alleged disability. (ECF 14 at ¶¶ 25, 110, 111, 125, 174,

180-183, 200). In connection with these claims, Plaintiff purports to have suffered emotional

distress and economic damages. (Id. at ¶¶ 115, 117-118).


       B. Plaintiff’s Delay in Providing Signed Authorizations to Obtain Records from
          Third Parties and in Serving his Initial Disclosures.

       On July 1, 2024, this Court issued an Amended Order scheduling a Pretrial Conference for

July 3, 2024. (ECF 24). The Order directed the parties to make initial disclosures within 14 days

of the Order, on or before July 15, 2024. See id.

       On July 3, 2024, Your Honor held a Pretrial Conference and instructed Tasty to promptly

provide Plaintiff with authorizations for medical, psychotherapy, and employment records and for

Plaintiff to execute the forms without delay. On July 3, 2024, Tasty sent Plaintiff’s Counsel blank

authorizations forms for Plaintiff’s signature for purposes of obtaining Plaintiff’s medical and

psychotherapy records from Plaintiff’s providers. See Exhibit A at p. 2. On July 9, 2024, Tasty

served Plaintiff with an additional authorization form for the release of Plaintiff’s employment

records from Plaintiff’s former, current, and prospective employers. See id. Because there is often

a delay with receiving records from providers, Tasty requested the completed authorizations be

returned as soon as possible. See id. Defendant diligently attempted to obtain the executed

authorizations forms from Plaintiff and Plaintiff’s Initial Disclosures for well over a month. See

id. Though Plaintiff’s Counsel consistently assured Tasty that the documents would be provided

imminently, they were not. See id. Finally on August 15, 2024, Plaintiff provided Tasty with the

signed authorization forms – over six (6) weeks after the Court had directed that they be provided

promptly. See id. As the discovery end-date was quickly approaching and Plaintiff still had not

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served Tasty with Plaintiff’s Initial Disclosures, Tasty sought this Court’s assistance pursuant to

the Court’s policies and procedures by letter dated August 26, 2024. See generally id. On

September 3, 2024 the Court issued an Order scheduling a telephonic conference for September 4,

2024. (ECF 29).

       During the telephonic conference on September 4, 2024, the Court made clear that further

delays or failures by Plaintiff to meet his discovery obligations would not be tolerated. Plaintiff’s

Counsel advised during the conference that the delay in providing authorizations was related to his

being unable to get in contact with Plaintiff until the previous day (September 3, 2024) because

Plaintiff had changed his phone number. At the conclusion of the telephonic conference, the Court

directed Plaintiff to (1) serve Plaintiff’s initial disclosures that day (September 4, 2024); (2)

confirm to Defense Counsel that the medical providers to which Tasty had already issued

subpoenas were correct and that there were no additional providers; and (3) timely serve Plaintiff’s

responses to Tasty’s discovery requests, which were to become due on September 9, 2024.

Plaintiff’s Counsel assured Defense Counsel and the Court that Plaintiff would comply with these

directives and that he understood the consequences of failure to do so.

       C.      Plaintiff Fails to Comply with the Court’s Directives.

       Despite this Court’s unmistakable instructions and Plaintiff’s Counsel’s assurances,

Plaintiff did not serve Plaintiff’s Initial Disclosures until September 5, 2024. See Plaintiff’s

Counsel’s 9/5/24 Email serving Plaintiff’s Initial Disclosures, attached hereto as Exhibit B.

Although a one-day delay may seem minor, is it indicative of Plaintiff’s Counsel’s pattern of

defying Court orders, discovery obligations, and bad faith engagement. See Ayala v. Tasty Baking

Co., No. 2:22-cv-03849-WB, ECF No. 81 at p. 5 (“An attorney who deliberately disregards court

orders offends the dignity and authority of the court and thereby obstructs the administration of



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justice.”) (internal citations omitted). Plaintiff also did not confirm the accuracy of the medical

providers to which Tasty had already served subpoenas for records, or include any medical

providers at all in Plaintiff’s Initial Disclosures. On September 11, 2024, Tasty contacted

Plaintiff’s Counsel regarding the identity of the Plaintiff’s medical providers. See 9/11/24 Email

Correspondence, attached hereto as Exhibit B.           To date, Plaintiff has not provided that

information.

       Tasty also has concerns about whether Plaintiff’s Initial Disclosures are reliable. In

Plaintiff’s Initial Disclosures, he identifies over thirty (30) individuals he purports have knowledge

relating to his claims. 2 Because Plaintiff’s Initial Disclosures were served more than six (6) weeks

late, this leaves Tasty with only seventeen (17) business days before the October 1, 2024 discovery

end date (one of which will be used taking Plaintiff’s deposition) in which to attempt to investigate

these individuals and to seek to take their depositions. Whether the individuals Plaintiff has

identified actually have knowledge related to Plaintiff’s claims is difficult to assess as Plaintiff’s

Initial Disclosures are largely a copy-and-paste from initial disclosures Plaintiff’s Counsel served

in different case against Tasty on behalf of his client Jose Ayala, including inaccurately listing the

EEOC investigator assigned to the Ayala EEOC charge (David Cha) as the investigator assigned

to Plaintiff’s charge, whereas the EEOC investigator who was assigned to Plaintiff’s EEOC charge

is Jamie Storey. See 8/10/24 Ltr. to Plaintiff from J. Storey, attached hereto as Exhibit E. Other

items call the accuracy and trustworthiness of Plaintiff’s Initial Disclosures into question, such as

that they state that Plaintiff is not in possession of contact information for named witness, Tiarra



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  Plaintiff’s Initial Disclosures also list an additional eighteen (18) people, fourteen (14) if which
are not listed anywhere else, who Plaintiff claims made written reports. It is unclear if Plaintiff is
providing these names as part of his Rule 26(a)(1) obligation to provide the names of individuals
likely to have discoverable information. If he is, he has not provided the nature of that knowledge
or their contact information.

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[sic] Williams, despite that Plaintiff’s Counsel represents Ms. Williams in a different matter

against Tasty. See Civil Docket for Tiara Williams v. Tasty Baking Company, et al., Case No.

2:24-cv-02508-MRP, attached hereto as Exhibit D. Similarly, Plaintiff states that he does not

have contact information for named witness, George Donahue, even though Plaintiff’s Counsel

purported to represent Mr. Donahue for purposes of Mr. Donahue’s attempted deposition in the

Ayala litigation against Tasty.    Further, Plaintiff does not state that Mr. Donahue has any

information relating to Plaintiff’s claims. Instead, Plaintiff states, “This was an employee of Tasty

Baking Company at the same time while Plaintiff was employed…”. Finally, Plaintiff’s Initial

Disclosures state, “Plaintiff is in possession of the grievances that were filed that identified [Jack

Garrett] as the primary harasser and has produced the same in along with these written

disclosures.” See id. No documents were produced alongside the initial disclosures. In light of

these issues, and others, Tasty has concerns about the reliability of the information provided in

Plaintiff’s Initial Disclosures.

        D.      Plaintiff Has Not Responded to Tasty’s Discovery Requests.

        Again, despite Plaintiff’s Counsel’s assurances during the Parties’ September 4, 2024

telephonic conference with the Court, Plaintiff did not timely respond to Tasty’s discovery

requests, and still has not done so. Tasty served its First Set of Interrogatories and Requests for

Production of Documents on August 10, 2024. See Exhibit A, at p. 7. Under Rule 34(b)(2)(A),

“the party to whom the request is directed must respond in writing within 30 days after being

served…” Fed. R. Civ. P. 34(b)(2)(A) (emphasis added). Plaintiff’s responses to Tasty’s discovery

requests were due on September 9, 2024. On September 12, 2025, Plaintiff’s Counsel sent a text

message to Defense Counsel saying, “Just thought I’d check in with you regarding discovery in

lynch . I will get you the responses today.” See 9/12/24 Text Message, attached hereto as Exhibit



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C. Plaintiff’s Counsel did not provide any explanation for the delay. See id. And despite his

representation, Plaintiff still has not served responses to Tasty’s discovery requests.

III.   STANDARD OF REVIEW

       Rule 37(b)(2) of the Federal Rules of Civil Procedure empowers the Court to impose

sanctions when a party fails to obey an order to provide or permit discovery. Fed. R. Civ. P.

37(b)(2)(A). Rule 26(a)(1) of the Federal Rules of Civil Procedure require parties to provide “the

name and, if known, the address and telephone number of each individual likely to have

discoverable information – along with the subjects of that information – that the disclosing party

may use to support its claims or defenses, unless the use would be solely for impeachment.” Fed.

R. Civ. P. 26(a)(1). Per Rule 37(a)(4), “an evasive or incomplete disclosure … must be treated as

a failure to disclose.” Fed. R. Civ. P. 37(a)(4). Pursuant to Rules 33 and 34, a party must serve its

answers and any objections to interrogatories and its written responses to requests for documents

within 30 days after being served. Fed. R. Civ. P. 33(b)(2). A motion to compel a discovery

response may be made pursuant to Rule 37 if a party fails to answer an interrogatory submitted

under Rule 33 or produce documents requested under Rule 34. Fed. R. Civ. P. 37(a)(3)(B).

       The Supreme Court held, “Rule 37 sanctions must be applied diligently both ‘to penalize

those whose conduct may be deemed to warrant such a sanction, [and] to deter those who might

be tempted to such conduct in the absence of such a deterrent.’” Roadway Express, Inc. v. Piper,

447 U.S. 752, 763-64 (1980) (quoting Nat’l Hockey League v. Metro. Hockey Club, Inc., 427 U.S.

639, 643 (1976)), superseded on other grounds as stated in Morris v. Adams-Millis Corp., 758

F.2d 1352, 1356 (10th Cir. 1985). Sanctions within this Court’s sole discretion include dismissing

the action in whole or in part, as well as directing the matters embraced in the order bet taken as

established, prohibiting the disobedient party from supporting claims, striking pleadings, or



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treating as contempt of court. Fed. R. Civ. P. 37(b)(2)(A)(i-v, vii); see Curtis T. Bedwell & Sons,

Inc. v. Int’l Fid. Ins. Co., 843 F.2d 683, 691 (3d Cir. 1988) (citing Nat’l Hockey, 427 U.S. at 642).

       In addition to sanctions available under Federal Rule of Civil Procedure 37, it is well-

settled that federal courts have the inherent power to sanction parties who appear before them. See

In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 278 F.3d 175, 189 (3d Cir. 2002)

(citing Chambers v. Nasco, 501 U.S. 32, 43, 45-46 (1991)). This inherent power to sanction is not

circumscribed by the existence of a procedural rule or statute that may punish the same conduct.

Chambers, 501 U.S. at 49-50.

       To determine whether dismissal is an appropriate remedy, courts in this Circuit generally

apply the analysis set forth in Poulis v. State Farm Fire and Cas. Co., 747 F.2d 863, 868 (3d Cir.

1984), which evaluates the following factors: (1) the extent of the party’s personal responsibility;

(2) the prejudice to the adversary caused by the failure to respond to discovery; (3) a history of

dilatoriness; (4) whether the conduct of the party or the attorney was willful or in bad faith; (5) the

effectiveness of sanctions other than dismissal, which entail analysis of alternative sanctions; and

(6) the meritoriousness of the claim or defense. See Poulis, 747 F.2d at 868; see also Torres v.

Amerada Hess Corp., 240 F. App’x 946, 954-56 (3d Cir. 2007) (non-precedential) (applying

Poulis factors and affirming dismissal of the plaintiff’s claims as a sanction for failure to comply

with discovery requests); Sunday v. United States, No. 89-8374, 1992 WL 221322 (E.D. Pa. Sept.

3, 1992) (dismissing the plaintiffs’ claims under Poulis analysis for failing to attend scheduled

depositions and to obey court order). The Court need not find that all of the Poulis factors weigh

against the non-moving party in order to dismiss plaintiffs’ claims. Mindek v. Rigatti, 964 F.2d

1369, 1373 (3d Cir. 1992) (“Poulis did not provide a magic formula whereby the decision to

dismiss or not to dismiss a plaintiff’s complaint becomes a mechanical calculation…”).



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IV.    LEGAL ARGUMNT

       A.      The Poulis Factors Support Dismissal of Plaintiff’s Amended Complaint

       Application of the “Discovery rules’ requirements are mandatory, not optional.” In re

Asbestos Prods. Liab. Litig. V. A.C., No. 08-90234, 2012 U.S. Dist. LEXIS 165332, *12 (internal

citations omitted). The federal discovery rules (Fed. R. Civ. P. 26-37) “were carefully designed

to structure the pretrial process in a way to move a case or controversy to resolution on the merits

in the fewest and most efficient way possible.” Patel v. Havana Bar, No. 10-1383, 2011 U.S. Dist.

LEXIS 139180, at *20 (E.D. Pa. Dec. 2, 2011) (quoting Tarlton v. Cumberland Cnty. Corr.

Facility, 192 F.R.D. 165, 169 (D.N.J. 2000)). Plaintiff’s conduct with respect to discovery in this

case has caused just the opposite. Courts applying the Poulis factors under similar circumstances

have ordered dismissal as a sanction against parties that fail to comply with their basic discovery

obligations. Here, the balance of the Poulis factors likewise weighs in favor of dismissal.

               1.      Plaintiff’s personal responsibility in causing the discovery delays weighs in
                       favor of dismissal.

       First, the party’s personal responsibility for the challenged actions is considered. Here,

Plaintiff himself bears personal responsibility for the untimely authorizations, initial disclosures,

and discovery responses. Assuming Plaintiff’s Counsel was candid with the Court during the

September 5, 2024 telephonic conference, Plaintiff’s delays were related to Plaintiff changing his

phone number, rending his counsel unable to contact him. When a plaintiff “chooses to retain a

legal representative to speak for [him], the [plaintiff] must likewise keep that representative

informed as to where [he] can be reached.” Wood v. Central Parking Sys. Of Pa., No. 99-3022,

2000 U.S. Dist. LEXIS 9043, at *13-14 (E.D. Pa. June 22, 2000). Plaintiff’s Counsel’s contact

information is available on his website and Plaintiff could have easily apprised his counsel of his

new number. Plaintiff’s Counsel’s inability to access his client for apparently more than a month


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weighs in favor of dismissal. See Laughton v. Best Legal Servs., No. 15-6622, 2017 U.S. Dist.

LEXIS 16811, at *5 (E.D. Pa. Feb. 6, 2017) (“Plaintiff’s counsel has repeatedly advised this Court

of his inability to locate and/or communicate with Plaintiff. As such, because Plaintiff’s failures

to cooperate with [his] counsel and comply with this Court’s orders cannot be attributed to counsel

or another party, this factor weighs in favor of dismissal.”).

               2.      Tasty has been prejudiced by Plaintiff’s failure to timely participate in
                       discovery.

       The second Poulis factor asks the Court to consider how much Plaintiff’s behavior has

prejudiced defendant. Here, Plaintiff’s behavior was not a mere frustration, it has prevented Tasty

from analyzing the merits of the case and properly preparing its defense. Prejudice to a party “is

not limited to irremediable or irreparable harm . . . It also includes the burden imposed by impeding

a party’s ability to prepare effectively … Oftentimes, this type of prejudice involves disputes

between the parties on discovery matters because the defendants were deprived of necessary

information or had to expend costs to obtain court orders for compliance.” Pyle v. Upper

Chichester Twp., No. 22-1715, 2023 U.S. Dist. LEXIS 124945, at *9 (July 20, 2023) (quoting

Briscoe v. Klaus, 538 F.3d 252, 259 (3d Cir. 2008)). Here, Tasty received Plaintiff’s authorizations

for the release of medical and psychotherapy information over six (6) weeks after Tasty provided

Plaintiff with blank authorization forms. Further, despite the Court ordering Plaintiff’s Counsel to

confirm that no medical providers exist beyond the two (2) to which Tasty had already issued

subpoenas, Plaintiff’s has not done so. As a result, Tasty has not yet received key documents

needed to assess Plaintiff’s claims -- in particular his disability-related claims and claims for

emotional distress -- or to properly prepare for Plaintiff’s deposition. Tasty has not yet received

documents from Plaintiff’s former, present, or prospective employers and thus is without




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information as to whether Plaintiff has had issues similar to those in this case at other employers,

or whether he has properly mitigated.

       As explained, supra, Plaintiff’s Initial Disclosures were both untimely and do not appear

to have been prepared in good faith. Further, with the discovery period set to end on October 1,

2024, Tasty remains unable to ascertain which witnesses should be deposed and what specific

information Plaintiff purports each witness has. Likewise, Tasty has still not received any

responses to its discovery requests. Without them, Tasty is without information or documents

related to Plaintiff’s claims, alleged economic damages, or what information his identified

witnesses may have, prejudicing Tasty’s ability to properly prepare its defense. See Mazzuca v.

U.S. Sec. Assocs., No. 08-1967, 2009 U.S. Dist. LEXIS 19104, at *14 (E.D. Pa. March 3, 2009)

(“Defendant has been prejudiced in that it has not been able to effectively prepare its defense of

this matter without any initial disclosures or discovery responses.”).

       Plaintiff’s untimeliness and non-compliance with both the Federal Rules of Civil Procedure

and this Court’s orders have imposed significant burdens on Tasty by delaying the case, creating

unnecessary distractions, and requiring Tasty to incur significant time and expense in addressing

Plaintiff’s dilatoriness. See Gavaghan v. Said, No. 12-6389, 2013 U.S. Dist. LEXIS 83865, at *10

(E.D. Pa., June 14, 2013) (finding prejudice when “Plaintiff’s transgressions have cost Defendants

significant time and money to attempt to coax compliance from Plaintiff.”). See also Pyle, 2023

U.S. Dist. LEXIS 124945, at *9-10 (“The Court finds that Plaintiff’s failure to participate in

discovery or communicate with Defendants … has frustrated and delayed resolution of this matter.

Further, Plaintiff’s failure to participate or communicate hinders Defendants’ ability to have any

concrete sense of Plaintiff’s witnesses, evidence, or potential damages, which impedes




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Defendants’ ability to prepare effectively a full and complete trial strategy. Accordingly, the Court

finds that the second Poulis factor weighs in favor of dismissal.”).

               3.      Plaintiff’s Counsel has a history of dilatoriness that supports dismissal.

       The third Poulis factor looks at the history of dilatoriness. “Time limits imposed by the

rules and the court serve an important purpose for the expeditious processing of litigation ... [a]

history by counsel of ignoring these time limits is intolerable.” Poulis., 747 F.2d at 868. A history

of dilatoriness is exhibited by “extensive and repeated delay or delinquency” such as “consistent

non-response to interrogatories or consistent tardiness in complying with court orders.” Briscoe v.

Klaus, 538 F.3d 252, 260 (3d Cir. 2008). In addition to Plaintiff himself bearing responsibility for

the untimeliness, Plaintiff’s Counsel’s has exhibited a severe pattern of dilatoriness and disrespect

for Court orders. Unfortunately, “a client cannot always avoid the consequences of the acts or

omissions of its counsel.” Poulis., 747 F.2d at 868.

       Prior to the commencement of the discovery period, Tasty filed a Motion to Dismiss

(“MTD”) Plaintiff’s Complaint for failure to state a claim on January 12, 2024. (ECF 7). Pursuant

to Local Civil Rule 7.1(c), Plaintiff had fourteen (14) days, or until January 26, 2024 to opposed

Plaintiff’s MTD. Plaintiff did not respond. On February 2, 2024 this Court ordered Plaintiff to

respond to Tasty’s MTD on or before February 9, 2024, writing “[if] no response is filed, the Court

may grant the Motion as uncontested.” (ECF 9). Only then, did Plaintiff file a response on February

9, 2024. (ECF 10). Similarly, on April 3, 2024, Tasty filed a Motion to Dismiss Plaintiff’s

Amended Complaint (“SMTD”). (ECF 15). Again, Plaintiff had fourteen (14) days (until April

17, 2024) to submit a response. On April 17, 2024, Plaintiff’s Counsel filed a sealed letter with

the Court requesting an extension until April 22, 2024 due to illness. Plaintiff did not file his

Opposition until April 28, 2024-- nearly an entire week after his own proposed deadline. (ECF

18).

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       The extent to which Plaintiff’s Counsel has operated on his own timeline with little regard

for Tasty or this Court has been chronicled at length, supra. Moreover, this pattern of behavior is

not an isolated occurrence. Rather, the untimeliness, disregard for scheduling orders, and failure

to follow court rules is consistent with Plaintiff’s Counsel’s conduct in other cases. What has

taken place in this case is not unpreventable or isolated occurrences.

       Rather, untimeliness, disregard for scheduling orders, and failure to follow court rules is

consistent with Plaintiff’s Counsel’s conduct in other cases. See e.g., Ayala v. Tasty Baking Co.,

No. 2:22-cv-03849-WB, ECF No. 81 at p.5 (striking plaintiff’s untimely opposition to summary

judgment that did not comply with the Court’s summary judgment protocol for failure to follow

Court orders, noting “An attorney who deliberately disregards court orders offends the dignity and

authority of the court and thereby obstructs the administration of justice.”). Similarly, in Nelatury

v. Pa. State Univ., No. 21-279, 2024 U.S. Dist. LEXIS 121711, at *9-10 (W.D. Pa., July 11, 2024)

(Fisher, J.), Plaintiff’s Counsel was fined $500 for failing to timely file an opposition to summary

judgment and his “history of dilatory behavior.” Id. at *7. In that case, the court recognized

“Attorney Carson exhibited a pattern of neglect before March 2024 [when he left his former firm].”

Id. at 9. A cursory search of district court dockets in the Third Circuit show Plaintiff’s Counsel has

displayed similar conduct in other cases. See e.g. Katz v. Beebe Healthcare, No. 22-625, 2024 U.S.

Dist. LEXIS 78436 (D. Del., April 30, 2024) (Bryson, J.) (ordering Plaintiff’s Counsel to

reimburse defendants’ counsel for the costs and fees associated with filing a motion for sanctions

because “plaintiff’s failure to make discovery in this case has been flagrant”); McNulty v. Middle

East Forum, No. 19-5029, 2022 U.S. Dist. LEXIS 11971 (E.D. Pa., Jan. 24, 2022) (Lloret, J.)

(sanctioning Plaintiff’s Counsel’s client for her failure to respond to requests for admission from

defendants, “as it reflected Plaintiff’s prolonged failure to fully comply with her discovery



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obligations under the Federal Rules of Civil Procedure.”). See also D’Angelo v. Vanguard Grp.,

Inc., No. 21-4813, 2023 U.S. Dist. LEXIS 11210 (E.D. Pa., Jan. 23, 2023) (Kearney, J.) (denying

Mr. Carson’s motion for an extension of time after failing to timely file a notice of appeal, finding

Plaintiff’s Counsel “not credible in his shifting of blame” when attempting to cast blame on

paralegals and Google calendar, and finding Mr. Carson “not credible” with regard to other

representations he made to the Court.) Due to this pattern, Tasty has not filed a motion to compel

discovery, as it believes such efforts would be fruitless and Plaintiff has already demonstrated his

propensity for ignoring orders of the Court. Such an established pattern weighs in favor of

dismissal.

               4.      Plaintiff’s failure to comply is willful.

       The fourth Poulis factor examines whether the party or its lawyer acted willfully or in bad

faith. The myriad of documented circumstances where Plaintiff’s Counsel attempts to cast blame

on various extenuating circumstances to excuse his tardiness despite repeated admonishment and

sanctioning from various Courts can lead to no conclusion other than his conduct is willful. An

“absence of reasonable excuses may suggest that the conduct was willful or in bad faith.” Roman

v. City of Reading, 121 F. App’x 955, 960 (3d Cir. 2005). In the present case, Mr. Carson attributes

the delays in the discovery process to a change in his client’s contact information. However, this

excuse is unavailing. Plaintiff’s “failure to … communicate with [his] counsel, evidences

willfulness.” Laughton, 2017 U.S. Dist. LEXIS 16811, at *8.




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               5.      Sanctions other than dismissal will not be effective. 3

       Tasty is aware that alternative sanctions exist that could address the conduct at hand.

However, the history of this case and Plaintiff’s Counsel’s previous like situations suggest that

less severe sanctions will be ineffectual. This is not a situation where discovery responses are a

few days late but otherwise sufficient. Nor do extenuating circumstances exist which could

potentially excuse Plaintiff’s lack of punctuality or engagement with the discovery process. To

the contrary, Plaintiff’s Counsel’s blatant disregard of the directions this Court gave during the

September 5, 2024 telephonic conference supports the conclusion that dismissal is the only

effective sanction. See Sheppard v. Glock, Inc., 176 F.R.D. 471, 479 (E.D. Pa. 1997) (“We will

not endorse this cavalier approach to judicial directives … We do not decide this matter lightly,

recognizing that plaintiffs will be out of court. Nonetheless, we will not tolerate blatant disregard

of deadlines in a Scheduling Order, compounded by a general pattern of dilatoriness, compounded

by actual and apparent misrepresentations to opposing counsel and the court.”). “[I]t’s not OK for

lawyers just to do what they want, regardless of what the judge says. … When they do that, they

risk consequences that might be worse than the pain of compliance in the first place.” Wilkins v.

Tommy Bahama R&R Holdings, Inc., No. 23-05084, 2024 U.S. Dist. LEXIS 130558 at *1 (E.D.

Pa., July 24, 2024) (Wolson, J.). It is clear here that lesser sanctions will not change the

problematic behavior and thus, that dismissal is appropriate.

       In the alternative, Tasty respectfully requests that: 1) Plaintiff’s claims relating to disability

discrimination and emotional distress be dismissed, with prejudice, as Defendant’s ability to



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  “The last Poulis factor-the meritoriousness of the claim or defense-does not require extensive
discussion. In determining whether a claim is meritorious under Poulis, we only consider whether
‘the allegations of the pleadings, if established at trial, would support recovery by plaintiff.’”
Sheppard, 176 F.R.D. at 478 n. 5 (quoting Poulis, 747 F.2d at 869-70). Under that standard,
plaintiff’s claims are meritorious.

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prepare its defense has been most prejudiced with relation to those claims; 2) Plaintiff be

compelled to respond to fully respond to Defendant’s discovery requests and any objections by

Plaintiff be deemed waived; and 3) the discovery period and corresponding case deadlines be

extended for the limited purpose of Defendant being permitted to take Plaintiff’s deposition and

the depositions of witnesses identified by Plaintiff in his Initial Disclosures on dates after

Defendant has received Plaintiff’s discovery responses and responses from third parties to its

subpoenas for records.

V.     CONCLUSION

       Because Plaintiff has demonstrated that he does not take the rules, orders, or directives of

this Court seriously, and has no intention of complying with his discovery obligations in this case,

Tasty respectfully submits that the sanction of dismissal pursuant to Rule 37 and the award of

reasonable attorneys’ fees and costs to Tasty is warranted.


                                                     Respectfully submitted,

                                                      OGLETREE, DEAKINS, NASH, SMOAK
                                                      & STEWART, P.C.

 September 14, 2024                                  /s/ Clark Whitney
                                                     Clark Whitney, Esquire
                                                     Rachel I. Feinberg, Esquire
                                                     1735 Market Street, Suite 3000
                                                     Philadelphia, PA 19103
                                                     (215) 995-2813 (Tel.)
                                                     (215) 995-2801 (Fax)
                                                     Clark.whitney@ogletreedeakins.com
                                                     rachel.feinberg@ogletreedeakins.com
                                                     Attorneys for Defendant




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
 JAMES LYNCH,                                          :   CIVIL ACTION
                                                       :
                Plaintiff,                             :   Case No. 2:23-cv-04445-GJP
                                                       :
 v.                                                    :
                                                       :
 TASTY BAKING COMPANY, et al.,                         :
                                                       :
                Defendants.                            :
                                                       :
                                                       :


                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 14th day of September, 2024, the aforementioned Motion for

Sanctions was filed electronically with the Clerk of Court, served electronically on all counsel of

record via the Court’s ECF system, and is available for viewing and downloading from the ECF

system.


                                                     /s/ Clark Whitney
                                                     Clark Whitney




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